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IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 AUG ll AH 9= IB
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ELLIPSIS, INc., §Y; 1 n§§:§-,’,!S

 

Plaintiff,
vs. No. 03-2939-B/V
THE COLOR WORKS, INC.,

Defendants.

 

THE COLOR WORKS, INC.,
Third-Party Plaintiff

v.

MARY ELIZABETH WADE,

a/k/a Elizabeth Wade,

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Third-Party Defendant

 

ORDER DENYING PLAINTIFF'S AND THIRD-PARTY DEFENDANT'S MOTION
TO EXTEND RULE 16(b) SCHEDULING ORDER

 

Before the court is the August 5, 2005 motion of the
plaintiff, Ellipsis, Inc., and Third-Party Defendant Mary Elizabeth
Wade, a/k/a Elizabeth Wade, to extend the deadlines of the June 27,
2005 Rule 16(b) Scheduling Order. This motion has been referred to
the United States Magistrate Judge for determination. The request
to extend the deadlines of the scheduling order was a part of a

motion that also requested that the court enter an order compelling

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the defendant, The Color Works, Inc., to file additional responses
to Ellipsis, Inc.'s, and Mary Elizabeth Wade's second set of
interrogatories and requests for production of documents. On
August 8, 2005, the defendant, The Color Works, Inc., responded
only to the motion to extend the Rule lG(b) Scheduling Order. The
time for responding to the motion to compel has not passed. The
Color Works, Inc. indicates in its opposition to the present motion
that a response to Ellipsis’ motion to compel is forthcoming.
Therefore, the court will handle the motions individually and will
enter separate orders on each motion at the appropriate time.12
For the following reasons, the motion to extend the Rule lG(b)
Scheduling Order is denied.

Federal Rule of Civil Rule 16(b) provides that “[a] schedule
shall not be modified except upon a showing of good cause and by
leave of the district judge or, when authorized by local rule, by

a magistrate judge.” FED. R. CIV. P. 16(b). “The primary measure

 

' In its response to the motion, The Color Works Inc.

requests that the court enforce an agreement made between its
counsel and former counsel for Ellipsis, Inc. to pay/reimburse
Messrs. Gross and Sammataro for their airfare and hotel room
expenses incurred in association with depositions that were
scheduled to have taken place in Greensboro, North Carolina on
June 14 and 15, 2005. The court will not address this issue as
Ellipsis Inc. has not had an opportunity to respond. The Color
Works, Inc. may re-file its request at a later date if the matter
is not resolved.

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of Rule 16's ‘good cause' standard is the moving party's diligence
in attempting to meet the case management order’s requirement.”
Inge V. Rock Fin. Corp., 281 F.3d 613, 625 (6th Cir. 2003)(qu0ting
Bradford v. Dana Corp., 249 F.2d 604, 609 (Sth Cir. 2001). Thus,
an extension should not be granted unless the deadline could not
reasonably be met “despite the diligence of the party seeking the
extension.” Leary v. Daeschner, 349 F.3d 888, 906 (6th Cir. 2003).
Prejudice to the non-moving party as a result of the proposed
schedule modification is another relevant consideration. Inge, 281
F.3d at 625.

This case was filed in December of 2003. A trial date has
been set for March 20, 2006. The original scheduling order was
entered on February 17, 2004. Since that time, the scheduling
order has been modified on numerous occasions. Ellipsis, Inc. and
Elizabeth Wade now request that the court modify the scheduling
order once again. They contend that an extension of an additional
sixty (60) days to every date listed in the most recent modified
scheduling order is necessary in order for them to appropriately
prepare for trial. As the basis for their requests. they allege
that with the recent appearance of new counsel on July ll, 2005,
additional time to review the file and to obtain supplemental
responses to interrogatories and requests for production of

documents is needed in order to meet the court’s present trial

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date.

Despite the fact that Ellipsis, Inc. and Elizabeth Wade just
recently retained new counsel in this matter, the court finds that
they have not exercised diligence in attempting to meet the most
recent scheduling order’s deadlines. Thus, they have failed to
establish good cause for modifying the scheduling order as required
by Rule 16(b) of the Federal Rules of Civil Procedure. What is
particularly alarming to the court is the fact that new counsel,
despite making an appearance on June 12, 2005, waited until August
5, 2005 to file a motion seeking additional time to prepare its
case. It appears that an entire month passed without any attempt
on the part of new counsel to act diligently in the face of pending
deadlines. Moreover, Ellipsis and Wade provide no explanation as
to why the current deadlines cannot be met. As pointed out by The
Color Works, Inc., the only pressing deadlines are the September 9,
2005 fact discovery deadline and the 0ctober 7, 2005 deadline for
providing rebuttal expert disclosures/reports. The court finds
that with any amount of effort, counsel for Ellipsis and Wade
should be able to meet these deadlines.

Accordingly, Ellipsis, Inc.’s and Elizabeth Wade’s motion to
extend the Rule 16(b) scheduling order is denied. All deadlines
from the July 27, 2005 scheduling order remain in effect.

IT IS SO ORDERED this 10th day of August, 2005.

L[I,LW /G @//'W
DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

 

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